       Case 1-20-41759-ess             Doc 62       Filed 09/25/20         Entered 09/28/20 12:43:28




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:

WALKER SERVICE CORP., et al.,
                                                                        Case No. 20-41759 ESS
                                    Debtors. 1
                                                                        (Jointly Administered)


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                 ORDER EXTENDING DEBTORS’ EXCLUSIVITY PERIODS

         Upon the Application dated July 23, 2020, (the "Application"), of the above-captioned

debtors and debtors in possession (the "Debtors"), by their attorneys, Spence Law Office, P.C., for

entry of an order, pursuant to section 1121(d) of Title 11 of the United States Code, 11 U.S.C. § 101

et seq. (the "Bankruptcy Code"), extending the Debtors’ exclusive periods to file plan(s) of

reorganization and solicit votes thereon; and a hearing having been held on September 11, 2020; and

no objections having been received; and sufficient cause appearing therefore, and it further

appearing that sufficient notice of the Application as required having been given, as evidenced by

the proof of service annexed to the Application, it is

         ORDERED, that the Application be, and hereby is, granted; and it is further




1 The “Debtors” in these Chapter 11 Cases, along with the last four digits of each Debtors’ federal tax identification
number, are (i) Walker Service Corp. (0301); (ii) T & L Cab Co. Inc. (3724); (iii) Zion Taxi, Inc. (2389); (iv)
Stinger Taxi Inc. (7748); (v) Seven Transit, LLC (6442); (vi) Nicolette Transit, LLC (0225); (vii) Slepchik Transit,
LLC (8161); (viii) Larry’s Cab Company, LLC (8089): (ix) Yoha Transit, LLC (8135); (x) Quartermoon Hacking
Corp. (8122); (xi) Miranda Transit, LLC (6487); (xii) Cirrus Hacking Corp. (5391); (xiii) Cyclonic Hacking Corp.
(2980); (xiv) Laddie Cab Corp. (8009); and (xv) Vermouth Taxi Inc. (9070) (collective, the “Debtors”). The
Debtors’ mailing address is 465 Utica Avenue, Brooklyn, NY 11203.
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       ORDERED, that in accordance with section 1121(d) of the Bankruptcy Code, the Debtors’

exclusive periods to file plan(s) of reorganization are hereby extended through, to and including

December 4, 2020 and the time to solicit votes thereon is extended through, to and including

February 1, 2021.




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 Dated: Brooklyn, New York                                            Elizabeth S. Stong
        September 25, 2020                                     United States Bankruptcy Judge
